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               UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,               )
                                        )
     v.                                 )     No. 21-cr-00176 (CJN)
                                        )
STEVE OMAR MALDONADO                    )
    Defendant.                          )


                     NOTICE OF APPEARANCE

     The United States of America, by and through its attorney, the

United States Attorney for the District of Columbia, hereby informs the

Court that Assistant United States Attorney Elizabeth H. Danello is

entering her appearance in the above-captioned matter.

                                  Respectfully submitted,
                                  MATTHEW M. GRAVES
                                  United States Attorney

                                  _______ /s/_____________________
                                  ELIZABETH H. DANELLO
                                  D.C. Bar #407606
                                  Assistant United States Attorney
                                  601 D Street, NW, Room 6.232
                                  Washington, D.C. 20530
                                  Elizabeth.Danello@usdoj.gov
                                  (202) 252-6829
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                   C ERTIFICATE OF S ERVICE

     I HEREBY CERTIFY that this 7th day of February 2023, I have

caused a copy of the foregoing Notice of Appearance to be served via ECF

on counsel of record.

                                                     /s/
                                  E LIZABETH H. D ANELLO
                                  Assistant United States Attorney
